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v '.'. r‘- 3
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 2513 JU§.§ \ 8 PH 142 01
TAMPA DIVISION _ y war
DAIS ANALYTIC CORPORATION """ l "
’ `, '\ Fl_ORiUA
a New York Corporation, lnuULETAJMHIx lFCSO§TDA

Plaintiff,

vs.
CaseNo.: Y`-\% c \/\"l'$`%/Y\Q"TQ,\,J
SOEX (HONG KONG) INDUSTRY

& INVESTMENT CO. LTD.,

and LIWEI CAO, an ll'ldiViClual,

Defendants,
/

 

COMPLAIN'I` FOR CIVIL DAMAGES

Plaintiff DAIS ANALYTIC CORPORATION, sues SOEX (HONG KONG) INDUSTRY
& INVESTMENT CO. LTD. and LIWEI CAO, for breach of contract and theft of trade secrets.
The Plaintiff hereby alleges as follows:

NATURE OF THE CASE

This is an action for breach of contract and theft of trade secrets against the Defendants,
SOEX (HONG KONG) INDUSTRY & INVESTMENT CO. (hereafter referred to as SOEX) and
LIWEI CAO (hereafter referred to as CAO) in such causes of action as set forth herein.

JURISDICTION

Plaintiff brings this complaint under federal diversity jurisdiction, 28 U.S.C. 1332, as the
parties are completely diverse in citizenship and the amount in controversy exceeds $75,000.
Actions under 18 USC Chapter 90, are enforceable in the United States District Court pursuant to

18 USC §1936 (c).

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THE PARTIES

l. Plaintiff, DAIS ANALYTIC CORPORATION is a New York Corporation.
DAIS is a public corporation located in the Tampa Bay area and is a local business and
employer within the Middle District of Florida. DAIS has developed and is commercializing
applications using its technology. The first commercial product is an energy recovery
ventilator (“ERV”) for use in commercial Heating, Ventilating, and Air Conditioning
(HVAC) applications In addition to direct sales of its products, DAIS licenses its
nanostructured polymer technology to strategic partners and is in various stages of
development with regard to other applications employing its base technologies

2. The Defendants are SOEX and its operating entity called Zhongshan Trans-Tech New
Material Technology Co. Ltd. Zhongshan, China herein after referred to as SOEX. SOEX is a
foreign limited company organized under the laws of the Hong Kong Special Administrative
Region and People’s Republic of China (“PRC”), and is located at the address of Room ll-2-
1103 ll/F Kowloon Bldg 555, Nathan Rd. Mongkok KL, Hong Kong, Defendant SOEX is a
Defendant in the matter of Dais Analytic, Corporation v. Soex (Hong Kong) Industry &
Investments Co. Ltd. In the Middle District Case Number 8:15-cv-2362-T-35EAJ.

3. Defendant, LIWEI CAO is an individual, on information and belief a
resident and citizen of the State of California, and former employee of DAIS. CAO worked as
a technology-based employee who worked on DAIS’s proprietary polymer and other
technologies

4. The theft of the trade secrets from the Plaintiff DAIS did occur from Defendant
CAO being employed and located at the location of DAIS in Pasco County, Florida where such

facilities, work being done, computers, website and other matters are located.

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RELEYANT FACTS APPLICABLE TO ALL
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5. Plaintiff is in the business of developing and is commercializing its ERV and
other applications using its technology. The first commercial product is an energy recovery
ventilator (“ERV”) for use in commercial Heating, Ventilating, and Air Conditioning (HVAC)
applications In addition to direct sales of its products, DAIS licenses its nanostructured polymer
technology to strategic partners and is in various stages of development with regard to other
applications employing its base technologies

6. Specifically, during the time it has been in business, Plaintiff has developed the
highly profitable proprietary information and confidential tools and materials including,
without limitation, the patents, protocols and methodologies relating to the ERV and other
technologies This information is referred to in the Confidential Agreement and more fully
described below as “Confidential Information.”

7. This Confidential Information also specifically includes the operational
techniques, processes, formulas protocols and interfaces associated with the ERV and other
technologies developed and owned by DAIS.

8. This Confidential Inforrnation also specifically includes all patents, trademarks
and trade names

9. Plaintiff’s Confidential Inforination has been developed by Plaintiff over time
and Plaintiff has put forth a substantial investment of over 10 years in creating and maintaining
said information and materials Plaintiff Corporation holds 16 granted US patents, 3 Chinese
patents, and l Hong Kong patent and currently has 3 additional applications pending, some of

Which are not yet publicly visible. Portions of applications that have been issued patents still

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have cases in prosecution for additional claims A complete list of Dais patents and applications

is shown below:

Issued Patents

 

 

 

Patent Number l Description

US 5’468’574 Fuel cell incorporating novel ion-conducting membrane
US 5,679,482

U.S. Patent No. Crosslinked polymer electrolyte membranes for heat and
6,841,601 moisture exchange devices

 

U.S. Patent No. 6,413,298

Water and ion conducting membranes and uses thereof

 

U.S. Patent No. 6,383,391

Water and ion conducting membranes and uses thereof

 

U.S. Patent No. 6,110,616

Ion conducting membrane for fuel cell

 

U.S. Patent No. 7,179,860

Crosslinked polymer electrolyte membranes for heat, ion
and moisture exchange devices

 

U.S. Patent No. 7,990,679

Nanopaiticle Ultra Capacitor

 

U.S. Patent No.
8,222,346B2

Novel Coblock Polymers and Method for Making Same

 

U.S. Patent no.
8,500,960B

Multi Phase Selective Transport Through A Membrane

 

U.S. Patent No. 8,586,637

Stable and Compatible Polymer Blends

 

U.S. Patent No. 8,470,071

Enhanced HVAC Systems and Methods

 

U.S. Patent No. 9,293,269

Ultracapacitor Tolerating Electric Field of Sufficient
Strength

 

U.S. Patent No. 9,283,518

Fluid Treatment Systems and Methods Using Selective
Transfer Membranes

 

U.S. Patent No. 9,013,155

Energy storage devices including a solid multilayer
electrolyte

 

U.S. Patent No. 9,393,557

Anionic Exchange Electrolyte Polymer Membranes

 

China CN lOl,64l,l46B

(Appl-
#zL200800921 1.4)

Multi Phase Selective Transport Through a Membrane

 

Hong Kong HK
1,139,888

Multi Phase Selective Transport Through a Membrane

 

China CN102804303B

(Appl-
#zL201180012841.9)

Energy storage devices including a solid multilayer
electrolyte

 

China CN103203185B
(Appl-
#ZL201310052408.9)
Active Patent
Applications

WO/201 1/085917

 

A Dryer Having a Drying Chamber Comprising Heated Air

 

 

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Energy Storage Devices Including a solid Multilayer
Electrolyte

WO/2008/089484 Multiphase Selective Transport Through a membrane

WO/2009/002984 Stable and Compatible Polymer Blends

P CT /USZ 01 6/056064 Evaporative chilling systems and methods using a selective
transfer membrane

US 15/969,449 Compact membrane-based heat and mass exchanger

 

 

10. Defendant CAO is listed as one of several inventors on four of these issued
patents

ll. Every single patent and application listed above mentions some form of Aqualyte
material in one Way or another. The composition of matter patents claims a broad range of
different embodiments of Aqualyte technology, such as different starting manufacturing
practices and/or techniques to improve performance in different applications

12. The machine patents claim various applications and uses of Aqualyte technology
that Dais envisions and protects different methods of manufacturing and fabricating these
products Together, these patents seek to protect Plaintiffs business by making it difficult for
competitors to produce materials with the same performance and abilities as Aqualyte and
preventing the use of these and similar materials in protected applications and products that

Plaintiff invented and patented.

13. Accordingly, if any of Plaintiffs Confidential Information was revealed or
disclosed for use by competitors potential competitors or otherwise used in any manner other
than to the benefit of Plaintiff, it Would cause immediate and irreparable harm to Plaintiff. The
Non-Disclosure Agreements with Defendant’s CAO and SOEX were emplaced for the

protection of the Plaintist business and intellectual confidential property.

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Facts as to LIWEI CAO:

14. On or about January 31, 2001, CAO entered an employment agreement with
DAIS, which included CAO agreeing to terms of employment which specifically included entry
into a specific agreement which was an Employee Non-Disclosure and Non-Compete
Agreement.

15. The terms of such agreement include specific restrictions and terms that
included, in pait:

a. That the Company’s confidential information was valuable, special and unique
asset of the Company’s business, and that access to the Company’s technology was a part of
CAO’s agreement and employment

b. That CAO would not make use of such confidential information for their own or
any third parties benefit following employment

c. CAO agreed that such proprietary information, which included the certain
polymer and use of such materials in produced technologies, was and continued to be the
property of the Company, during and for all times after the termination of employment with
DAIS.

16. As part of her employment with DAIS, CAO had responsibilities which included
scaling a material called Aqualyte, which was a material upon which numerous patents and
work had been done by DAIS which had begun in 1995. Scaling is a way of saying taking it
from making it in beakers to a commercial facility and quantities While she understood the
high-level chemistry related items she lacked the commercial background to do this work.

17. During the term of CAO’s employment from 2001 - 2014 DAIS researched and

developed numerous improvements including scaled a material DAIS developed with Dow

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chemical which was called ESI Index Random Block Polymer, and worked with variants such
as a Kraton product called Styrene Ethylene Butadiene Styrene (SEBS) in two forms First
cationic and then in the 2010 - 2012 time frame the anionic version.

18. This body of work is called ‘synthesis’ by DAIS. The goal of this process is to
‘sulfonate’ a base resin, which is typically sourced from Dow Chemical, Kraton, and other
manufacturers, to create a sulfonated product material called an engineered resin, which is
essential and proprietary to DAIS, as well as the improvements by DAIS. DAIS alters the
molecular structure of the base resin, changing its properties and creating its unique and
proprietary Aqualyte. The base resin is mixed with solvents (liquid chemicals) and other
materials which were of proprietary nature to DAIS, then stirred, heated, then stopped at just the
right time, and the solvents are taken away. The resulting polymer material is Aqualyte, usually
in solid “crumbs” that can be further processed into optimal shapes or coatings

19. This material which is essential and proprietary to DAIS, as well as the
improvements by DAIS is called an engineered resin, In its raw form it looks like many small
white eraser heads The resin is mixed with solvents (liquid chemicals) and other materials
which were of proprietary nature to DAIS, then stirred, heated, then stopped at just the right
time, and the solvents are taken away. At that point there is “crumb” left. The goal of the
process is to ‘sulfonate’ the base resin Which was from Dow Chemical, Kraton, and other
sources DAIS alters the molecular structure of the base resin changing its properties creating its
unique and proprietary Aqualyte. This body of work is called ‘synthesis’ by DAIS.

20. During all these time periods CAO was working with the Dais engineering team
determining the best rates moisture could transfer thru the Aqualyte membrane, which involved

many small synthesis runs varying certain parameters and many types of substrate experiments

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21. Dating back to 2003, as CAO worked with DAIS, the Company found an
intersection between the polymer’s needed features (and how to create them), and the same with
the substrate to make Aqualyte DAIS’s first product, which when used in the HVAC industry as
an energy recovery ventilator (ERV). DAIS named their proprietary technology “ConsERV.”
Later (2010 - 2014) embodiment of the technology appear in several other of DAIS’s

applications including but not limited to ‘NanoClear’, ‘NanoAir’, and ‘PolyCool’.

22. During all the time of invention, experimentation and creation of Aqualyte, the
proprietary property of DAIS, CAO was employed and involved in all aspects of creating such
materials under DAIS.

23. CAO until her departure from employment with DAIS on August 29, 2014, was
involved with all of the described and other proprietary matters for membrane developments,
including Working on NanoClear (a water cleaning technology), a special form of battery ultra-
capacitor (store electricity), NanoClear (a novel contaminated water cleaning process),
PolyCool (a disruptive cooling tower and membrane evaporator) and NanoAir (a full HVAC

system), as well as other highly specialized applications

24. During all such time, CAO was given access to and obtained a large degree of
knowledge as to all matters DAIS possessed and worked on as proprietary matters for polymers
including looking at new base resins, newer synthesis techniques which use less offensive
solvents, and more efficient (less expensive) processes as well as ways to tape cast the material.

25. During the time period of employment CAO came into contact with and did meet
a contracted party who DAIS had a contractual relationship in the Peoples Republic of China

(China). CAO met and came to know the party in charge of a company called Soex (Hong

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Kong) Industry & Investment Co., Ltd. (Soex) through the work with DAIS who was
transacting business under contracts and agreements with Soex in China.

26. ln 2014, the Company completed its second delivery of Aqualyte membrane for
use in ConsERV products under a contract with Soex.

27. On or about December 2014, SOEX breached the agreements with DAIS, which
resulted in a termination of all agreements between the two parties in May of 2015, and a
lawsuit being filed, which suit is currently pending in the District Court for the Middle District
of Florida under case number 8115-cv-2362-T-35EAJ.

28. At the time of her departure from DAIS, CAO was fully aware and had been
involved in the work that had been done with Soex, and the matters that were to be delivered
including all polymer-based technologies and products

29. In full awareness of the relationship and issues of DAIS with Soex, for the sale
and delivery of DAIS’s proprietary technology into China and the breaches of such agreements
by Soex, CAO had departed employment, with full knowledge of her contractual obligations
which existed in the subject Non-Disclosure Agreement.

30. On or about March 2017, DAIS became aware that CAO was actively working
with Soex to circumvent the rights of DAIS under the non-disclosure obligations and was
sharing and working with Soex to make and sell such polymers and materials for sale within
China, in direct competition and to the detriment of DAIS.

31. CAO took such actions in knowing contravention and in direct breach of her
non-disclosure agreement, since she is using the same polymer knowledge that she gained

through employment with DAIS.

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32. With full knowledge of the obligations and duties under the Agreement, CAO, in
2015 through April 2017, did share the intellectual property of DAIS with Soex, and help Soex
obtain and produce the same kind of materials, which included all of the intellectual property
and confidential trade secrets of DAIS in such polymer material that was being made and
supplied to Soex for sale into the China market. The same market where DAIS had a material
agreement with Soex, Which was the subject of the cited Federal lawsuit.

33. CAO knowingly and willfully violated the terms of the Non-Compete and Non-
Disclosure Agreement she had with DAIS, breaching such contract, and knowingly violated the
patent and intellectual property rights that DAIS held in such materials

Facts as to SOEX

34. SOEX immediately began a relationship with CAO on information and belief
during her employment with Dais and enticed her to leave such employment on or about August

2014.

35. On or about March 2017 and continuing to this day, DAIS became aware that

SOEX was instrumental in the theft of the intellectual property of DAIS for use and sale by
SOEX.

36. On or about March 2017 through to this day, it came to the attention of DAIS that
SOEX was directly using the same kind of materials which included all of the intellectual
property and confidential trade secrets of DAIS in such polymer material that was being made
and supplied to Soex for sale into the China market. The same market where DAIS had a

material agreement with Soex, which was the subject of the cited Federal lawsuit.

37. ln concert with CAO, SOEX intentionally breached its agreement with DAIS as

to a Distribution Agreement which was entered into by DAIS on or about April 24,

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2014, and legally terminated by DAIS on or about May 29, 2015.

38. As a covenant to the SPA, SOEX agreed to enter to issue stock in a
Chinese subsidiary that was to be created in China, This promise by SOEX was repeated
in the Distiibution Agreement with SOEX. which DAIS relied upon before issuing

SOEX the DAIS common stock called for in the SPA.

39. Additionally, the Distribution Agreement imposed the payment of distribution
and licensing payments to DAIS by October 2014, as well as royalty payments and a
commitment from the Defendants to purchase nano-material membrane and other products
from DAIS. In return, the SOEX obtained the right to distribute and market ConsERV (and
potentially other DAIS Products) for incorporation in ventilators sold and installed in
commercial, industrial and residential buildings transportation facilities and vehicles (the

“Field”) in mainland China, Hong Kong, Macao and Taiwan (the “Territory”).

40. Under the Distribution Agreement, SOEX received an exclusive license in a
certain defined territory to use DAIS’s intellectual property in the manufacture and sale of
ConsERV and potentially other DAIS Products (as defined in the Distribution Agreement”) in

such territory.

41. SOEX was under the obligation of confidentiality and protection of the
confidential information and intellectual property of DAIS breached such agreements by theft

and use of the intellectual property by counterfeiting the products of DAIS.

42. DAIS discovered that SOEX had been counterfeiting the intellectual property of
DAIS, which was protected under the agreements on or about March of 2017 when it was made

aware of SOEX’s operating entity, Zhongshan Trans-Tech New Material Technology Co. Ltd.

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Zhongshan, China, meeting clients in China extolling the fact they employed the lead Dais
scientist and a better material to sell. lt is important to note while CAO was a member of a team

she was hardly the ‘lead’.

43. Further, a visit to the Soex website confirmed in both pictures and text Soex’s
operating entity was in fact, promoting a material having near complete similarity to the Dais’s

Aqualyte material.

44. Intemal analysis by Dais of the Soex material shows it is nearly identical to the
Aqualyte material with subtle, nonperformance effecting, changes likely useful for obtaining

Chinese patent coverage without citing Dais’s existing position(s) in this area

45. SOEX’s operating entity’s web site is not just the material but also the areas of
use - HVAC, and Water. While the site has been redesigned as of the first of 201 8 the similarity

of the two company’s (DAIS and SOEX) businesses is unmistakable

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Website pictures: (http://www.tt-transtech.com/)

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Guo, Han, Unidentified Person,
and Cao

 

 

 

 

 

 

 

 

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Dais( Brian Johnson, author) graphic depicting
membrane operation

 

 

 

 

46. The represented web site materials were obtained from the URL of http://www.tt-
transtech.com/, which directly used materials and graphics identical to the DAIS site which

include the exact graphic which was in English originally by DAIS.

47. It is evident upon analysis of the SOEX that they have violated the rights of
DAIS under its intellectual property protections with SOEX, and under its proprietary

protections for its Aqualyte materials and uses

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BREACH oF CoNTRACT- NoN-i)isCLosURE AGREEMENT
(CAo)

Plaintiff DAIS hereby sues Defendant CAO for breach of contract for violation of the
enforceable non-disclosure agreement As grounds therefore, the Plaintiff would state:

48. Plaintiff DAIS hereby adopts the above factual statements for purposes of this
count.

49. CAO is subject to the non-disclosure agreements between the parties

50. CAO entered into such agreement has part of her employment with DAIS, for
which she received substantial compensation over the period of her employment, until her
departure on or about August 2014.

51. Such agreement is enforceable against CAO under its terms

52. CAO by virtue of her work with SOEX to copy the DAIS products for SOEX to
sell into the Chinese market and otherwise.

53. CAO’s breach of the non-disclosure agreement has caused material and
significant damage to DAIS through loss of sales revenue and marketplace positioning for its
products

54. CAO’s breach of such agreement was not discovered until such products and
materials being used by SOEX and other protected information regarding the DAIS materials

WHEREFORE, Plaintiff DAIS hereby sues Defendant CAO for breach of contract,
seeking such damages attomey’s fees and costs as may be determined by the Court, together

with such enforcement of such injunctive relief that may be granted.

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COUNT II
THEFT OF TRADE SECRETS (18 U.S. Code § 1832 and §1836)
(CAO)

Plaintiff DAIS hereby sues Defendant CAO for theft of trade secrets pursuant to 18 USC
§ 1832 and §1836. As grounds therefore, the Plaintiff would state:

55. Plaintiff DAIS hereby adopts the above factual statements for purposes of this
count.

56. Defendant CAO had access to and did have intellectual property in the form of
knowledge, materials data and documents gained through her employment with DAIS.

57. Defendant CAO knowingly converted such trade secrets of DAIS intellectual
property which was used and intended to be used in both interstate and foreign commerce.

58. Defendant CAO knowingly did so for the purposes of gaining an economic
benefit for herself through the sale or otherwise of such intellectual property, giving, selling or
otherwise delivered such trade secrets to SOEX for SOEX use and sale to the detriment of DAIS.

59. In so doing, CAO knowingly did so with the intent to harm and deprive DAIS of
its trade secrets rights and ownership.

60. DAIS took all necessary steps to protect its trade secrets including protections by
the patent filings cited herein, maintenance of data securitization on secured servers as well as
the use of non-disclosure provisions in its agreements including the CAO agreement.

61. DAIS has ascertained that the theft by CAO occurred on or after Mat 11, 2016
when the Defense of Trade Secrets Act came into effect.

62. Defendant CAO is liable for all damages related to such theft caused upon DAIS

by her actions including exemplary damages and attorney’s fees

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WHEREFORE, Plaintiff DAIS hereby sued Defendant CAO for trade secret theft
pursuant to 18 USC §1836 and §1832, seeking damages exemplary damages costs and
attorney’s fees

COUNT III
THEFT OF TRADE SECRETS (18 U.S. Code § 1832 and §1836)
(SOEX)

Plaintiff DAIS hereby sues Defendant SOEX for theft of trade secrets pursuant to 18
USC § 1832 and §1836. As grounds therefore, the Plaintiff would state:

63. Plaintiff DAIS hereby adopts the above factual statements for purposes of this
count.

64. Defendant SOEX had access to and did have trade secrets in the form of
knowledge, materials data and documents gained through Defendant CAO through her
employment with DAIS.

65. Defendant SOEX knowingly received and possessed such trade secrets knowing
that the materials were , buys or possesses such information, knowing the same to have been
stolen or appropriated, obtained, or converted without authorization of DAIS.

66. Defendant SOEX had full knowledge of that such trade secrets were the property
of DAIS through their prior business relationship for provision of the very same materials and
products that were stolen.

67. Defendant SOEX knowingly converted such trade secrets of DAIS intellectual
property for its own use, for replication for products to be sold in China, which is foreign

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68. Defendant SOEX knowingly did so for the purposes of gaining an economic
benefit for itself through the replication of DAIS’s trade secrets for sale or otherwise of such
products and materials in China to the detriment of DAIS.

69. ln so doing, SOEX knowingly did so with the intent to harm and deprive DAIS of
its trade secrets rights and ownership.

70. DAIS took all necessary steps to protect its trade secrets including protections by
the patent filings cited herein, maintenance of data securitization on secured servers as well as
the use of non-disclosure provisions in its agreements including the CAO agreement, as well as
agreements with SOEX.

71. DAIS has ascertained that the theft by CAO occurred on or after May 11, 2016
when the Defend Trade Secrets Act came into effect. CAO supplied such information to SOEX
from its trade secrets after such date by the evidence DAIS has of publication of such products
occurring on or about January 2017.

72. Defendant SOEX is liable for all damages related to such theft caused upon DAIS
damages exemplary damages and attorney’s fees

WHEREFORE, Plaintiff DAIS hereby sued Defendant SOEX for trade secret theft
pursuant to 18 USC §1836 and §1832, seeking damages exemplary damages costs and

attorney’s fees

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Dated this 18th Day of June 2018.

Respectfully submitted,

/s/ Craig A. Hu]j$nan

 

Craig A. Huffman, Esquire

Securus Law Group, P.A.

13046 Racetrack Road, #243
Tampa, Florida 33626

Phone: (888) 914-4144

Email: Craig@securuslawgroup.com

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